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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
 UNITED STATES OF AMERICA,                                     :
                                                               :
                                                               :
                              -v-                              :
                                                               :              1:19-cr-0338-GHW
                                                               :
 MOAZU KROMAH and AMARA CHERIF, :                                                 ORDER
                                                               :
                                              Defendants. :
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GREGORY H. WOODS, United States District Judge:

          A remote proceeding is scheduled in this matter on January 11, 2021 at 9:00 a.m. Members

of the public who wish to audit the proceeding may do so using the following dial-in information:

(888) 557-8511; Access Code: 7470200.

         SO ORDERED.

Dated: January 11, 2021                                            __________________________________
                                                                           GREGORY H. WOODS
                                                                          United States District Judge
